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          November 21, 2024

          VIA ECF

          Hon. Arun Subramanian
          United States District Judge
          Southern District of New York
          500 Pearl Street
          New York, NY 10007

                  Re:     United States v. Combs, 24-cr-542 (AS)


          Dear Judge Subramanian,

          On behalf of Defendant Sean Combs, we respectfully request permission to file a reply
          memorandum of up to 16 pages in support of Mr. Combs’ renewed bail motion, to ensure that
          we have sufficient space to respond to the new material in the government’s opposition.

          The government has advised us that they consent to the proposed relief.

          We thank the Court for its consideration of this request.


GRANTED. However, the parties should make every
effort in the future to ask for relief of this kind in a timely   Respectfully,
fashion. The Clerk of Court is respectfully directed to
terminate the motion at ECF No. 78.                               /s/ Alexandra A.E. Shapiro

SO ORDERED.                                                       Alexandra A.E. Shapiro




Arun Subramanian, U.S.D.J.
Date: November 21, 2024
